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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                     )
    In re:                                                           )   Chapter 11
                                                                     )
    CORE SCIENTIFIC, et al.,1                                        )   Case No. 22-90341 (DRJ)
                                                                     )
                                       Debtors.                      )   (Jointly Administered)
                                                                     )   Re: Docket No. 505

                     CERTIFICATE OF NO OBJECTION
            REGARDING APPLICATION FOR ENTRY OF AN ORDER
           AUTHORIZING THE RETENTION AND EMPLOYMENT OF
       WILLKIE FARR & GALLAGHER LLP AS COUNSEL TO THE OFFICIAL
    COMMITTEE OF UNSECURED CREDITORS EFFECTIVE AS OF JANUARY 9, 2023


             1.    On February 8, 2023, the Official Committee of Unsecured Creditors (the

“Committee”) in the above-captioned cases filed the Application for Entry of an Order Authorizing

the Retention and Employment of Willkie Farr & Gallagher LLP as Counsel to the Official

Committee of Unsecured Creditors Effective as of January 9, 2023 [Docket No. 505] (the

“Application”),2 with a proposed order granting the relief requested in the Application (the

“Proposed Order”), the Trompeter Declaration attached thereto as Exhibit B, and the Miller

Declaration attached thereto as Exhibit C. Objections to the Application were required to be filed

and served on or prior to March 1, 2023 (the “Objection Deadline”).




1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Core Scientific Mining LLC (6971); Core Scientific, Inc. (3837); Core Scientific Acquired
      Mining LLC (N/A); Core Scientific Operating Company (5526); Radar Relay, Inc. (0496); Core Scientific
      Specialty Mining (Oklahoma) LLC (4327); American Property Acquisition, LLC (0825); Starboard Capital LLC
      (6677); RADAR LLC (5106); American Property Acquisitions I, LLC (9717); and American Property
      Acquisitions, VII, LLC (3198). The Debtors’ corporate headquarters and service address is 210 Barton Springs
      Road, Suite 300, Austin, Texas 78704.
2
      Capitalized terms used but not others defined herein shall have the meanings ascribed to them in the Application.
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       2.      Following the filing of the Application, the Committee received certain informal

comments from the U.S. Trustee and made corresponding revisions to the Proposed Order. A

revised Proposed Order is annexed hereto as Exhibit A (the “Revised Proposed Order”). A redline

of the Revised Proposed Order marked against the Proposed Order is annexed hereto as Exhibit

B.

       3.      In accordance with paragraph 44 of the Procedures for Complex Cases in the

Southern District of Texas, the undersigned counsel files this Certificate of No Objection and

represents to the Court that (a) the Objection Deadline has passed, (b) the undersigned counsel is

unaware of any objection to the Application, and (c) the undersigned counsel has reviewed the

Court’s docket and no objection to the Application appears thereon.

       4.      Therefore, the Committee and Willkie Farr & Gallagher LLP respectfully request

entry of the Revised Proposed Order.




                          [Remainder of page intentionally left blank]




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Dated:      Houston, Texas
            March 2, 2023

                                 Respectfully Submitted,

                                 WILLKIE FARR & GALLAGHER LLP

                                 By: /s/ Jennifer J. Hardy
                                 Jennifer J. Hardy (Texas Bar No. 24096068)
                                 600 Travis Street
                                 Houston, Texas 77002
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                                 AND

                                 Brett H. Miller (admitted pro hac vice)
                                 Todd M. Goren (admitted pro hac vice)
                                 James H. Burbage (admitted pro hac vice)
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                                 Proposed Counsel to the Official Committee of
                                 Unsecured Creditors




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                                     Certificate of Service

        I certify that on March 2, 2023, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                         By: /s/ Jennifer J. Hardy
                                             Jennifer J. Hardy
